                         1:05-cv-01292-HAB-JAG # 24        Page 1 of 1
                                                                                         E-FILED
AO 450 (Rev. 5/85) Judgment in a Civil Case                   Tuesday, 06 March, 2007 01:53:56 PM
                                                                     Clerk, U.S. District Court, ILCD



                     United States District Court
                                   CENTRAL DISTRICT OF ILLINOIS



                             JUDGMENT IN A CIVIL CASE


SAMUEL SPAN

                       vs.
                                                                         Case Number:    05-1292

C/O LISA WILLIAMS,etal



 DECISION BY THE COURT. This action came before the Court. The issues have been heard
and a decision has been rendered.


     IT IS ORDERED AND ADJUDGED that case is dismissed with prejudice for failure to
prosecute pursuant to Fed.R.Civ.P. 41(b).


                                              ENTER this 6th day of March, 2007.


                                               JOHN M. WATERS, CLERK


                                                       s/ H. Kallister
                                                   BY: DEPUTY CLERK
